      Case 5:24-cv-01364-SLP         Document 1     Filed 12/30/24    Page 1 of 4




                      UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF OKLAHOMA

 ARICA SMITH                                        )
          Plaintiff,                                )
                                                    )
 v.                                                 ) Case No. CIV-24-1364-SLP
                                                    )
 LVNV FUNDING LLC,                                  )
          Defendant.                                )

                    COMPLAINT AND DEMAND FOR JURY TRIAL

                               I.     INTRODUCTION

1.    This is an action for actual and statutory damages brought by Plaintiff Arica Smith,

      an individual consumer, against Defendant, LVNV Funding LLC, for violations of

      the Fair Debt Collection Practices Act, 15 U.S.C § 1692 et seq. (hereinafter

      “FDCPA”), which prohibits debt collectors from engaging in abusive, deceptive,

      and unfair debt collection practices.

                        II.    JURISDICTION AND VENUE

2.    Jurisdiction of this court arises under 15 U.S.C § 1692k(d) and 28 U.S.C § 1331.

3.    Venue in this District is proper in that the Defendant transacts business in Oklahoma

      City, Oklahoma County, Oklahoma, and the conduct complained of occurred in

      Oklahoma City, Oklahoma.

                                    III.      PARTIES

4.    Plaintiff is a natural person residing in Oklahoma City, Oklahoma County,

      Oklahoma.

                                              1
      Case 5:24-cv-01364-SLP         Document 1      Filed 12/30/24     Page 2 of 4




5.    Plaintiff is a consumer as defined by the Fair Debt Collection Practices Act, 15

      U.S.C. §1692a(3).

6.    Upon information and belief, Defendant is a South Carolina corporation with its

      registered agent for service of process as follows: Corporation Service Company,

      10300 Greenbriar Place, Oklahoma City, OK 73159.

7.    Defendant regularly attempts to collect consumers’ debts alleged to be due to

      another.

8.    Defendant is engaged in the collection of debt from consumers using the mail and

      telephone.

9.    Defendant is a “debt collector” as defined by the FDCPA, 15 U.S.C § 1692a(6).

                        IV.    FACTS OF THE COMPLAINT

10.   On or about October 22, 2024, Plaintiff reviewed her credit report and observed that

      Defendant is attempting to collect a debt allegedly owed to Credit One Bank, N.A.

      in the amount of $648.45.

11.   On October 22, 2024, Plaintiff sent a letter to Defendant stating, “I refuse to pay the

      debt” pursuant to 15 U.S.C. § 1692c(c).

12.   Plaintiff’s letter was delivered to Defendant on October 26, 2024 via USPS certified

      mail.

13.   Defendant continued collection efforts by forwarding correspondence to Plaintiff

      via mail dated November 4, 2024 regarding alleged debt validation. Defendant also



                                             2
       Case 5:24-cv-01364-SLP           Document 1      Filed 12/30/24     Page 3 of 4




      included several documents which Plaintiff believed to be alleged accounting

      statements of the debt, in violation of 15 USC 1692c(c).

14.   Plaintiff has suffered actual damages as a result of the illegal debt collection

      communications by Defendant in the form of intrusion upon seclusion, anger,

      anxiety, decreased ability to focus on tasks, loss of time, loss of money, frustration,

      amongst other negative emotions.

                            V.     FIRST CLAIM FOR RELIEF
                                     15 U.S.C. §1692c(c)

15.   Plaintiff re-alleges and reincorporates all previous paragraphs as if fully set out

      herein.

16.   Defendant’s debt collection efforts violated the FDCPA, particularly §1692c(c)

      states:

                (a) If a consumer notifies a debt collector in writing that the consumer refuses
                    to pay a debt or that the consumer wishes the debt collector to cease
                    further communication with the consumer, the debt collector shall not
                    communicate further with the consumer with respect to such debt, except-
                        (1) to advise the consumer that the debt collector’s further efforts are
                            being terminated;
                        (2) to notify the consumer that the debt collector or creditor may
                            invoke specified remedies which are ordinarily invoked by such
                            debt collector or creditor; or
                        (3) where applicable, to notify the consumer that the debt collector or
                            creditor intends to invoke a specified remedy.

                          If such notice from the consumer is made by mail, notification
                          shall be complete upon receipt.




                                                3
          Case 5:24-cv-01364-SLP        Document 1      Filed 12/30/24    Page 4 of 4




17.      Defendant’s acts were done with intentional, willful, reckless, wanton and negligent

         disregard for Plaintiff’s rights under the law and with the purpose of coercing

         Plaintiff to pay an alleged debt.

18.      As a result of the above violations of the FDCPA, the Defendant is liable to Plaintiff

         for actual damages, statutory damages and costs.

                  VI.    JURY DEMAND AND PRAYER FOR RELIEF

         WHEREFORE, Plaintiff respectfully demands a jury trial and requests that

judgment be entered in favor of Plaintiff and against Defendant for:


      A. Judgment for the violations occurred for violating the FDCPA;

      B. Actual damages pursuant to 15 U.S.C § 1692k(a)(1);

      C. Statutory damages pursuant to 15 U.S.C § 1692k(a)(2);

      D. Costs and reasonable attorney fees pursuant to 15 U.S.C § 1692k(a)(3);

      E. For such other and further relief as the Court may deem just and proper.

                                              Respectfully submitted,

Dated: December 30, 2024                     By: s/ Tiffany Hill
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                                               4
